EXHIBIT C
                                                                                     EXECUTION COPY




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                                              CREDIT AGREEMENT

                                              Dated as of May 17, 2007

                                                          Among

                                               TRIBUNE COMPANY

                                                     as Borrower

                                     THE INITIAL LENDERS NAl\rJED HEREIN

                                                   as Initial Lenders

                                         ,JPMORGAI\ CHASE BANK, N.A.

                                               as Administrative Agent

                                   MERRILL LYNCH CAPITAL CORPORATION

                                                 as Syndication Agent

                                       CITICORP l"ORTH AMERICA, INC.,

                                             BANK OF AMERICA, N.A.

                                                             and

                                              BARCLA YS BANK PLC

                                             as Co-Documentation Agents

                                                             and

                                     J.P. MORGAN SECURITIES INC.,
                         MERRILL LYNCH, PIERCE, FENNER & SMITH INCORPORATED,
                                   CITIGROUP GLOBAL MARKETS INC.
                                                  and
                                   BANC OF AMERICA SECURITIES LLC

                                     as Joint Lead Arrangers and Joint Bookrunners




Professionals' Eyes Only                                                                         TRB0520774
Highly Confidential -- Attorneys' E es Onl
                   IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be duly executed
          by their respective authorized officers as of the day and year first above written.


                                                        TRIBUNE COMPANY


                                                        By:      CI~-ti.£
                                                              Name:
                                                              Title:




                                                   [amendment no. 1J




Professionals' Eyes Only                                                                                   TRB0520893
Highly Confidential -- Attorneys' Eyes Only
                                                             JPMORGAN CHASE BANK, NA,
                                                                    as Agent


                                                                        ~~/
                                                      ~~'
                                                       ame:-==/~OBERT ANASTASIO
                                                      /             Tnle:      VICE PRESIDENT
                                                  ./
                                         ~ --_..--'




                                                          [amendment no. 11




Professionals' Eyes Only                                                                        TRB0520894
Highly Confidential -- Attorneys' Eyes Only
                                              JPMORGAN CHASE BANK, N.A.,
                                                as a Lender
                                                              ----==""~


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                                                T'tle:    VICE PRESIDENT




Professionals' Eyes Only                                                   TRB0520895
Highly Confidential -- Attorneys' Eyes Only
                                             Bank of America. N.A..
                                             as Co=Dccurnentation ..A.gent and L.ender
                                                     ,--.....,..             .

                                             By:    Ji~(?R~
                                                   Name: Daniel R. Petrik
                                                   Title: Senior Vice President




Professionals' Eyes Only                                                                 TRB0520896
Highly Confidential -- Attorneys' E es Onl
                                              BARCLAYS BANK PLC,
                                                as a Lender


                                              By:   &f>;;c
                                                    Name: David Barton
                                                    Title: Associate Director




Professionals' Eyes Only                                                        TRB0520897
Highly Confidential -- Attorneys' Eyes Only
                                              CasIna '-0 Rf> "''''~~ A-M~II'.4
                                                     Lender                 -" OJ I""".
                                                                                  ---_OJ




                                              By:




Professionals' Eyes Only                                                                   TRB0520898
Highly Confidential -- Attorneys' Eyes Only
                                            CIT Lending Service., Inc,

                                            as a Lender

                                            By,   ~J4.)~A.&&--
                                                  Name: Charles 1.Dr.~    ~-­
                                                  Title, Vice President




Professionals' Eyes Only                                                        TRB0520899
Hi hi Confidential -- Attorne s' E es Onl
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Professionals' Eyes Only                                                                                  TRB0520900
Highly Confidential -- Attorneys' Eyes Only
                                              Lehman Brothers Commercial Bank,
                                                as a Lender


                                              By:     ~e =-::s~
                                                    Name: Geo e Janes
                                                    Title: Chief Credit Officer




Professionals' Eyes Only                                                          TRB0520901
Highly Confidential -- Attorneys' Eyes Only
                                              tI1f'dt(   b. u, t~1 [l,:MIf,
                                                 as a Lefidei

                                              By:




Professionals' Eyes Only
                                                                              TRB0520902
Highly Confidential -- Attorneys' Eyes Only
                                              Sumitomo Mitsui Banking Corporation,


                                                             -----
                                                as a Lender


                                                    ~
                                                         -
                                              By:                               ==::::::::::
                                                    Title:
                                                              Voshlhlro Hyakulome
                                                                Gell8raJ Manager




Professionals' Eyes Only                                                                       TRB0520903
Highly Confidential -- Attorneys' Eyes Only
